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 7                           UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
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10    UNITED STATES OF AMERICA,                                CASE NO. 07CR658 WQH
11                                         Plaintiff,          ORDER
            vs.
12    JHON JAIRO OROZCO, et al.,
13                                       Defendant.
14
15   HAYES, Judge:
16          In the matter before the Court, Defendant Jhon Jairo Orozco moves the Court to declare
17   this case complex and exclude time pursuant to Speedy Trial Act, 18 U.S.C. §
18   3161(h)(8)(B)(ii). (Doc. # 39).
19          Section 3161(h)(8)(A) provides that the Court may exclude any period of delay
20   resulting from a continuance “if the judge granted the continuance on the basis of his findings
21   that the ends of justice served by taking such action outweigh the best interest of the public and
22   the defendant in a speedy trial.” Factors which a judge shall consider in determining whether
23   to grant a continuance under subparagraph (A) include “[w]hether the case is so unusual or so
24   complex, due to the number of defendants, the nature of the prosecution, or the existence of
25   novel questions of fact or law, that it is unreasonable to expect adequate preparation for pretrial
26   proceedings or for the trial itself within the time limits established...” Section
27   3161(h)(8)(B)(ii). “[N]o continuance period may be excluded unless the court makes
28   reasonably explicit findings that demonstrate that the ends of justice served by granting the


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 1   continuance do, in fact, outweigh the best interests of the public and the defendant in a speedy
 2   trial.” United States v. Perez-Reveles, 715 F.2d 1348, 1352 (9th Cir. 1983).
 3          Based upon the complex nature of this proceedings which involves multiple defendants
 4   from several countries, defendants named in multiple prosecutions, and a very large volume
 5   of discovery, the Court concludes that it would be unreasonable to expect defense counsel to
 6   be able to adequately prepare for pretrial proceedings or for the trial itself within the time
 7   limits established under Section 3161, et seq., taking into account the exercise of due diligence.
 8   The discovery in this case which results from an investigation involving hundreds of potential
 9   targets from several countries includes thousands of pages of documents, over one hundred
10   compact disks containing thousands of pages of line sheets and hundreds of intercepted phone
11   calls in Spanish, as well as multiple DVD’s of video surveillance. The Court concludes that
12   the ends of justice served by a continuance outweighs the best interest of the public and the
13   Defendants in a speedy trial. Based upon the finding of complexity, the court will exclude the
14   period of time between May 28, 2008 to August 4, 2008 in order to allow all defense counsel
15   an opportunity to review and organize the volumnious discovery, to conduct the required
16   investigation, and to effectively prepare pretrial motions.
17          IT IS HEREBY ORDERED that the motion to declare this case complex and exclude
18   time pursuant to Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(B)(ii) filed by Defendant Jhon Jairo
19   Orozco (Doc. # 39) is granted.
20          IT IS FURTHER ORDERED that a period of excludable delay from May 28, 2008 to
21   August 4, 2008 is allowed pursuant to Section 3161(h)(8), in addition to any time excludable
22   pursuant to Section 3161(h)(1)(F). This period of excludable delay applies to all defendants
23   in this case pursuant to Section 3161(h)(7). A further hearing is scheduled in this matter for
24   Monday, August 4, 2008 at 2 p.m.
25   DATED: June 19, 2008
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                                                       WILLIAM Q. HAYES
27                                                    United States District Judge
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